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 AO 91(Rc?'
          .l1/l11 Crimi
                      lmlCompkinl                                                             ' -- ''-               '
                 -.- . ...                  .         -- -    ..- . . .     --- .. .. ....                 ---- .         ....
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                                           U NITED STATES D ISTRICT COURT
                                                                          forthe
                                                             Southem DistrictofFlorida
                      United StatesofAmerica
                                      V.        '
                    Calvin NathanielPetersen,                                                CaseNc.
                                                                                                           20-6011-SNOW


                       '
                                 öojèndantls)

                                                     C RIM INA L COM PLATNT
              1,thecomplainantinthiscase,statethatthefollowing istruetothebestofmy knowledgeandbelietl
 0noraboutthedatets)of May20,2018,andOctober16,2018 inthecountycf                                                                    Broward               inthe
        !R:>tnl-- Districtof                        FI
                                                     q1.
                                                       dA-.-.--Nthedefendantts)violated:
                Codeé'
                     e/f/tpz?                                             Op nseDelcr/foa
 18U.S.C.j1951(a)                                    Interferencewi
                                                                  thcommercebythreatsorviolence (Count1)
 18U.S.C.5924(o)(1)(A)                              Brandishingasrearm inrel
                                                                           ationtoacrimeofviolencetcount2)
 18U.S.C.j1951(a)                                   lnterferencewi
                                                                 thœ mmercebythreatsorvi  olence (Count3)
 18U.S.G.j924@)(1)(A)                               Brandishingaflrearm inrelationtoacrimeofviolence(Count4)



              n iscriminalcomplaintisbased onthesefacts:
 SeeattachedAffi
               davit.




          V Continuedontheattachedsheet;
                                                                                                                                                      z'
                                                                                                                               ,         '        .


                                                                                                                    Comptainant'
                                                                                                                               çsîgnatvre
                                                                                                                               .

                                                                                                          Ryan Dreibelbi
                                                                                                                       s,SpeclalAgent,FBI
                                                                                                                     PrlntednameandIf/e
 Sworn obeforemeand signed in my presence.

                        /
 Date:    -
                             .
                                 I'
                                  D    & &
                                                                                                                         Jll#ge'
                                                                                                                               ssignature
 city and state:                       FortLauderdale,Florida                                            Lurana S.Snow,U.S.Magistrate Judge
                                                                                                                     Printed nameJl?Jtitle
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                AFFIDAVIT IN SUPPORT OF CRIM INAL COM PLAINT

        1,Ryan Dreibelbis,being duly sw orn,hereby depose and stateasfollows:

                     INTRODUCTION AND AGENT BA CK GROUND

               Iam aSpecialAgentwith theFederalBureau ofInvestigation (GTBI'')andhave
 served in thiscapacity since Febrblary 2018. Currently,Inm assigned to theViolentCrim esand

 FugitiveTask ForceoftheFBI'sM iamiDivision and havebeen atthislocation sinceM ay 2019.

 M y duties involve investigating bank robberies,Hobbs Ad robberies,extortion, kidnappings,

 and otherviolationsoffederallaw. Priorto moving to theM iamiDivision, Iserved asa Special

 Agentforthe FBI'sNew York Division where Iinvestigated narcoticstrafticldng violations.

               I make this Ao davit in support of a criminal com plaint charging CAI,VIN

 NATHANIEL PETERSEN with two countsofviolating Title 18,United StatesCode, Sedion

 1951(a)(interferenc,
                    ewith commerce by threatsorviolence),andtwo countsofviolating Title
 18,United StatesCode,Section 924(c)(1)(A)(brandishing a firearm in relation to a crime of
 violence).
              I subm itthis Affdavitbased on my personalknowledge,as wellasinform ation

 provided tom eby otherindividuals,including other1aw enforcementoffkials, and m y review of

 records and other evidence obtained during the course of this investigation. Because this

 AY davit is being submitted for the limited purpose of establishing probable cause for the

 requested warrant,itdoesnotincludeeveryfactknown tom eaboutthism atter.

                                   PR O BA BLE C AU SE

       4.      On or about M ay 20, 2018, at approximately 8:32 a.m ., a black m ale

 (çdperpetrator'),believed to be PETERSEN based on information described below,entered the
 KwikStopEastInc.(Glltwik Stop''),located at2101E.CommercialBouleved,Fot'tLauderdale,
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 Florida. Kwik Stop is a businessthatconduds business in and affecting interstate commerce.

 The pep etratorwas wearing gloves and at-shirtoverhisface,and brandishing a firem'
                                                                                  m .The

 perpetratorjumped overthe cotmter,grabbed the clerk,and forced the clerk to the ground in
 froùt of the cash register.The perpetrator then ransacked the cash register area, removing

 approximately tivehundred dollars($500.00)inUnited Statescurrencybeforem ovingtheclerk
 to arearroom .Duringthe robbery,a civilian entered thebusiness.Upon seeingthe civilian, the

 perpetrator approached him/her,took fifteen dollars($15.00) in United States currency and
 house keys from the dvilian,and fled the scene. Dming the robbery,the t-shirtcovering the

 pep etrator's face fell, revealing his facial features and beard in detail. This appearance

 resem bled PETERSEN .Kw ik Stop'svideo sm veillancesystem captured therobbery.

               On or about August         2018, at approximately 11:55 p.m ., a black male

 (çdperpetrator'),believed to be PETERSEN based on the information desoribed below,entered
 the M Alo Converlience,located at4400 N .FederalHighway, FortLauderdale,Florida. M AK

 Convenience is a business thatconducts business in and affecting interstate comm erce. The

 pem etratorwaswearing awhitelong sleeve shirt,black pants,black shoes,orange gloves, and a

 black shirtcovering hisface. Upon entering thestore,theperpetratorwalked around the counter

 and pointed a black sem i-automatichandgun atthe cashier. The perpetratorordered the cashier

 to open theregister,which he/shedid.Theperpetratorsubsequently ordered thecashierto lay on

 the ground. In addition to the register,theperpetratorlocated a cigarbox containing additional

 United States currenoy. The totalloss was approxim ately one thousand tive hundred dollars

 ($1,500.00)in United States currency. The perpetratorthen took the cashier's cellphone and
 ordered the cashier to go into the bathroom before fleeing the scene. Law enforcem ent
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 ultim ately recovered the cell phone from the south side of the business parking lot. M AK

 Convenience'svideo surveillancesystem capturedtherobbery.

        6.     On or about August25,2018,atapproxim ately 11:18 p.m .,an unknown black

 male (dçperpetrator''),believed to be PETERSEN based on the information described below,
 entered the A11in One,located at 3801 NW 9thAve,Oakland Park, Florida. A11in One is a

 business that conducts business in and affecting interstate com merce. The pep etrator w as
 '

 wearing dark sneakers,dark pants,a whitelong sleeve shirt,ablack shirtasa mask, and orange
                             $

 gloves.Thepepetratorbrandishedablackhandgtm atoneoftheclerks(Gçclerk 1''),andordered
 Clerk 1to open the register. The perpetratorthen forced Clerk 1 to 1ay down on thefloorwhile

 he searched a1lthe shelves underthe register. The perpetratorthen entered the backroom and

 encountered anotherderk(EçC1e<k 2'').Thepepetratorlooked atClerk2 andstated,SGYou have
 five(5)secondsto givemethemoney''beforehebegapcotmtingdown.HelatertoldClerk 2to
 ddgive m e the money or I willshootyou.'' AfterClerk 2 had given the perpetrator a1lofthe

 money ofwhich Clerk 2 was aware,the perpetrator searched through boxes and shelvesin the

 room tmtilhe found a smalleigarbox with approximately one thousand dollars ($1,000)in
 United States ourrency. The perpetratorthen took Clerk 2's Phone,forced Clerk 1 into the

 bathroom ,and tled the business. Law enforcementrecovered Clerk 2's P hone outside ofthe

 business. The total loss to the store was approxim ately one thousand nine hundred dollars

 ($1,900.00) in United States currency. AllIn One's video surveillanoe system captured the
 robbery.

               On or about Septem ber 10,2018, at approximately 8:15 p.m ., a black m ale
                     /

 (ççperpetrator'),believed to be PETERSEN based on theinformation described below,entered
 the M Alt Convenienee,located at4400 N .FederalHighway,FortLauderdale, Florida. The
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 pep etratorhad robbed thissam e location on oraboutAugust17, 2018 (seeParagraph 5). The

 pep etratorwas wearing a white long sleeve shirt,black pants,black shoes,blue gloves, and a

 black shirtcovering his face. Upon entering the store, theperpetratorjumped overthecounter

 and pointed ablack semi-autom atic handgtm atthe cashier. Theperpetratordirected the cashier

 to open theregister. Afterthe cashiercomplied,theperpetratortook approximately onehundred

 dollars($100.00)inUnited Statescurrency from thecashregister.Thepepetratorthen searched
 underthecounterand located abox containing an additionaltwo hundred dollars($200.00)in
 United Statescurrency. Thepep etratorthen took the cashier'swalletand rem oved onehundred

 f11:
    t)rdollars($150.00)inUnited Statescurrency.Aftertheperpetratordirectedthecashiertogo
 into the bathroom , the cashier obselwed the perpetrator stealing his/her cell phone prior to

 fleeing. Law enforcem entlaterrecovered the cellphone f'
                                                        rom a sink behind the counter. The

 totallosswasapproximately fourhundred tifty dollars ($450.00) in United States currency.
 M AK Convenience'svideo surveillancesystem captured therobbery.

        8.     On or about Septem ber 14,2018, at approximately 7:26 p.m ., a black m ale

 (çdperpetrator'')believedtobePETERSEN basedontheinfonnation describedbelow,enteredthe
 sam e Kwik Stop thatexperienced a robbery on oraboutM ay 20, 2018 (seePragraph 4). The

 cashier observed the perpetrator approac,
                                         h the front door ofthe business wearing a white long

 sleeve shirt,black pants,a black shirtoverhis face, white gloves,and a black firearm in his

 waistband. The cashierbelieved the perpetratorwasgoing to rob the businessand did notallow

 him to enterthe business. Afterattempting and failing to enterthe Kwik Stop, the pep etrator

 fled the scene. Kwik Stop digital video security cameras recorded the attempted robbery.

 Surveillance footage shows the perpetrator entering a new er modelDodge Charger, charcoal




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 grey in color,no window tint,bearing a smallbarcode sticker in the rear passenger window ,

 which law enforcementbelieved to depictarentalvehicle.

               On or about September 14, 2018, at approxim ately 8:30 p.m ., a black m ale

 (Gtperpetrator''),believedtobePETERSEN,enteredtheStarAmericaGrocery,locatedat2656E.
 Oakland Park Blvd,FortLauderdale,Florida. StarAm erica Grocery isa businessthatconducts

 businessin and affecting interstate comm erce. The perpetratorwaswearing a long sleevewhite

 shirt, dark jeans,black shoes, and white gloves - consistent with the attire worn by the
 perpetratorduring the attempted robbery oftheKwik Stop earlierthatday (see Paragraph 8).
 Upon entering,theperpetratorbrandished a'
                                         black handgun,leaptoverthe counter, and forcedthe

 clerkto opentheregister.Theperpetratorstoleapproximatelyt'
                                                          wothousand dollars($2,000.00)
 in United Statescurrenc,
                        y beforedirecting the derk to open the safe. Theclerk explained thatthe

 safewasno longerin use,adding thathe/she did nothave accessto it. Thepem etratordirected

 the clerk to open the second register. Although the clerk opened it, there was nothing inside.

 The perpetratorthen putthe gun to the clerk'shead and searched his/her person, rem oving a

 cellphoneandapproximately threehundreddollary($300.00)in United Statescurrency from the
 clerk'sw allet. Theperpetratorthen directed the clerk intothem anager'soffice. A ftersearching

 foranothersafe,theperpetratorfled.

        10.    Law enforcement determ ined thatEnterprise in the FortLauderdale/M inmiarea

 wastheonlyrentalcompany in theareathatallowed customersto renta charcoalgray Dodge
 Charger,sim ilar to the one thatthe perpetrator used when he departed from the scene ofthe

 Kwik Stop on or about September 14,2018 (see Paragraph 8). Enterprise provided 1aw
 entbrcem entwith a listof custom ers who rented thattype of vellicle on September 14, 2018.

 PETERSEN wasone ofthe listed custom ers.Therentalagreem entassociated with thevehiclein


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 question listed PETERSEN by his fîrst and last name, and bore his signatm e and initials.

 PETERSEN 'Sfailureto return thevehicle ontim eresulted in Entep risereportingitstolen.

               On oraboutSeptember20,2018,in the evening hours,1aw enforcem entlocated a

 2018 Dodge Charger,with South Carolina license plate NYZ172, driving in the area of the

 aforementioned robberies. Law enforcem ent confirmed that PETERSEN rented this vehide.

 Law enforcem entfollowed the Dodge Chargerforapproxim ately one and a halfhours. Dlzring

 thattim e,the Dodge Charger drove in the area ofthe aforem entioned robberies and parked in

 close proximity to a numberofcomm ercialbusinesses,including thosepreviously robbed. The

 vehiclemadeno stopsorptlrchasesatany ofthebusinesses. Thevehiclem ade U-turnsand other

 unnecessary tm ns,drove in circles,and drove directly through busipessparking lots. Based on

 yotlraffiant'straining and experience,such abnormaldrivingpatternsareconsistentwith counter

 surveillance tactics utilized by those engaged in crim inal activity in an effortto determine

 whetherany law enforcementorthirdparty vehicleswere followingthevehicle.

               On or about September 21,2018,atapproximately 8:00 p.m .,law enforcement

 initiated asurveillance detailand locatedthe aforem entioned 2018DodgeChargerin thegeneral

 vidnity ofthe robberies,and PETERSEN 'S currentand previousresidences. Thevehicle again

 spenttim e driving in the area ofthe robberies and parking in dose proximity to a number of

 com mercialbusinesses,including thosepreviously robbed. Thevehiclem adea numberofstops

 atvriousresidencesand a bar. Law enforcem entpositively identified PETERSEN asthedriver

 ofthevehicle.Surveillance continued untilPETERSEN rem rned to hisFortLauderdale address.

 Thatsame day,law enforcementobtained astatesearch warrantin orderto track the2018 Dodge

 Charger.The nextday,atapproximately 4:00 a.m .,1aw enforcementinstalled thetracker. The

 vehiclecontinued to usecounter-surveillance detection tactics.


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        13.    Law enforcem ent conducted surveillance of PETERSEN from on or about

 September 21,2018,untilon or about October 16,2018. During this time, 1aw enforcem ent

 observed PETERSEN wearing avariety ofdifferentclothing,including awhite long sleeve shirt,

 black pants, and black shoes with a tan sole, as observed in previous robberies.        Law

 enforcem entalso observed PETERSEN wearing a red hooded sweatshil't, black pants,and black

 Shoes0nnllm erousOCCRSiODS.

        14.    On or about October 16,2018,at approxim ately 4:12 p.m .,an arm ed robbery

 occurred outside ofaresidence in FortLauderdale,Florida. The victim ,H.T.,arrived athis/her

 residenceafterwithdrawingeightythousanddollars($80,000.00)inUnited Statescurrency from
 a nearby bank for use in his check-cashing business,Tm'u Thakkar Inc. d/b/a :(A Discount

 Liquor''(çW DiscountLiquor''). A DiscotmtLiquorisabusinessthatconductsbusinessin and
 affectinginterstatecommerce.AsH.T.wasexitinghis/hervehicle,ablack male(GGpepetrâtor''),
 laterdeterm ined to be PETERSEN,exited a red Nissan passengercarand approached H .T. The

 perpetratorwas wearing a black m ask,a red hooded sweatshirt,black pants,blue latex gloves,

 and black shoeswith tan soles.Thepep etratorbrandished afirearm and forcefully took thebag

 carrying the $80,000.00 from H .
                                T .'Sperson,even though H.T.keptpleading forthe pep etrator
 notto take it. Afteryanking thebag from H.T.,the perpetratorfled the scene in the red N issan

 passengercar.H.T.'SfrontdoorRing doorbellsystem capmred the robbery.

               Law enforcem entreviewedtheGPS logsofthe2018 Dodge Chargerfrom theday

 thatthe perpetratorrobbed H .T.and fotmd thatitwasin Pom pano Beach,Florida, atthe tim e of

 H.T.'S robbery. Law enforcem ent later conduded a drive-by of the area that the GPS logs

 identified asthe 2018 Dodge Charger's location and observed a red Nissan Altim a- similarto
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 theoneusedbytheperpetratoratthetimeofH.T.'Srobbery (seeParagraph 14)- parked atthe
 sanleresidence.

        16.    On or about October 16,2018,after H .T.'S robbery,1aw enforcem entarrested

 PETERSEN for possession ofmarijuana and rentalvehicle theft. Atthe time ofhis arrest,
 PETERjXN identifed his phone number as XXX-XXX-8934. During a post-Miranda
 interview,PETERSEN adm itted to driving ççared cm'
                                                  ''and a Gtred Nissan Altima''earlierin the

 day.

        17.    Law enforcementexecuted astatesearch warranton theN issan Altima and seized

 blue latex gloves from the interiorof the vehicle. Law enforcement subm itted the gloves for

 DNA analysis. Theresults showed Gtvery strong support''thatPETERSEN 'SDNA w aslocated

 on theexteriorofthe gloves.Theglovesalso containedH .T.'SDNA .

        18. Law enforcementobtainedafederalsearchwarrant(18-6451-HUNT)forcell-site
 data associatedwith aphonenum berbelieved tobelongto PETERSEN and ultim ately eontirmed

 byPETERSEN to belongtohim (seePragraph 16).ThephonenumberwasXX'
                                                               X-X'XX-8934.
 Cell-sitedatashow edthefollow ing:

    * August16,2018:Petersen was atorin thevicinity ofM AK Convenienceat6:30
      PM , 8:38 PM , and 10:49 PM . Tllis is the day preceding the first M AK
        Conveniencerobbery(seeParagraph 5).
    @ August 17,2018:Petersen wasatorin the vicinity ofM AK Convenience at8:30
        PM and 8:54 PM . This is the day of the M AK Convenience robbery (see
        Paragraph5),whichoccurred at11:55PM .
    * August25,2018:Petersen was in the vicinity ofthe Al1In One atapproxim ately
        7:39 PM . The robbery occurred that day at approximately 11:18 PM (see
        Paragraph 6).




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                                      CONCLUSION
           Irespectfully submitthatprobablecauseexistqforthefollowing:

        @ Count1-OnoraboutMaj20,2018,CAIM N NATHANIEL PETERSEN committed
           aviolationofTitlel8,UnltedStatesCode,Section 195l(a)(interferencewithcommerce
           bythreatsorviolence);

        e Count2-Onorabout.Ma(20,2018,CALW N NATHANIEL PETERSEN committed
           aviolation ofTitle l8,UnltedStatesCode,Section 924(c)(1)(A)(brandishingaGrearm
           inrelation toacrimeofviolence);
                        -

       .* Count 3 - On or abous October l6,2018,CAI,VIN NATHANIE/ PETERSEN
           committedaviolationofTitlel8,UnitedStatesCode,Section 195l(a)(interferencewith
           commercebythreatsorviolence);and
        * Count 4 - On or about October I6. 20I8, CALW N NATHAN IEL PETERSEN
           committed aviolation ofTitle l8,United StatesCode,Section 924(c)(1)(A)(brandishing
           aGrearm inrelationtoacrimeofviolence).

     FURTHER YO UR AFFDUG SAYETH NAUGH T.
                                                            ,e
                                                                 Z
                                                        z
                                                   #V                    .A
                                             SP .'A AGE          RYAN DREIàELBIS
                                             F   ERAL BUREAU OF W VESTIGATION

     Subscribed and swom before me
     this     day ofJanuary 2020.


     HONORA/LE LURANA S.SNOW
     UNITED STATES M A O ISTRATE JUDG E
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                                           CO NCLUSION

           Irespectfullysubmitthatprobablecauseexis? forthefollowing:

        e Count1-OnoraboutMaj20,2018,CAI,W N NATHANIEL PETERRENcommitted
           aviolationofTitle 1% UnltedStatesCode,Section1951(a)(interferencewithcommerce
           bythreatsorviolence);
        * Count2 - On oraboutM ay 20,2018,CALW N NATHANV L PETERSEN com m itted
           aviolation ofTitle 18,United StatesCode,Section 924(c)(1)(A)(brandishing aGrearm
           inrelationtoacrimeofviolence);
           Count 3 - On or about October 16,20l8,CALW N NATHAM EL PETERREN
           comm itted a violation ofTitle l8,United StatesCode,Section 195I(a)(interferencewi
                                .                                                           th
           commercebythreatsorviolence);and
        * Count 4 - On or about October l6, 20l8. CALVIN NATHANIEL PETERSEN
           committed aviolationofThlt18,Unhtd StatesCodt,Section924(o)(1)(A)(brandishing
           afirearm in relationtoacrimeofviolence).

     FURTH ER YO UR AFFIANT SAYETH NAUGH T.
                                                                  r# '

                                                             z'
                                                        J/               M
                                               SP 'A AGE          RYAN DREIBELBIS
    '
                                               F       ERAL BUREAU OF INVESTIGATION

     Subscribed and sworn before m e
     this,Z> day ofJanuary 2020.

                                       f
     H        BLE LU RAN A S.SNO W
     UN ITBD STATES M A G ISTRATE JU DG E




                                                   9
